CaSe 2:O4-cV-O2513-.]P|\/|-de Document 20 Filed 05/11/05 Page 1 of 2 Page|D 26

IN THE UNITED sTATEs DIsTRIcT coURTF“-*EDY~*"‘14 `¥FU”'

FoR THE wEsTERN DISTRICT oF TENNESSEEr HT_ ,~}
wEsTERN DIVISIoN Uslwn li Ph h=

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SOUTHEAST MENTAL HEALTH CENTER,

)
INC., )
)
Plaintiff, )

)
v. ) No. 04-2513 Ml/V
)
PAcIFIc INSURANCE coMPANY, LTD.,)
)
>

Defendant.

 

 

ORDER GRANTING MOTION FOR CONTINUANCE,
and
ORDER SETTING TELEPHONE CONFERENCE

 

Before the Court is Plaintiff's Motion for Continuance and
Amendment of Order Setting Trial and Pretrial Dates and
Scheduling Order, filed April 14, 2005. Good cause having been
shown, the motion is GRANTED.

The Conrt hereby sets a telephone conference for Thursdayc

Mav 26, 2005, at 9:30 a.m., to set a new trial schedule in this

Case. Plaintiff shall initiate the call with all parties on the

line.

30 oRDERED this [( th day of May, 2004.

f

JON P. MCCALLA
UNI ED STATES DISTRICT JUDGE

     
  

 

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STATES DISTRICT oURT - WESTNER ISRICT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:04-CV-025]3 Was distributed by faX, mail, or direct printing on
May ]3, 2005 to the parties listed.

 

 

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Honorable J on l\/lcCalla
US DISTRICT COURT

